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armed in the State of Delaware

April 18, 2019

Clerk, United States Bankruptcy Court
Eastern District Of New York

27l-C Cadman Plaza East

Brooklyn, NY l 1201

Re: Wells Fargo Bank, N.A. as servicing agent for HSBC Bank USA, National Association As
Trustee For Nornura Asset AcceptanceCorporation, Mortgage Pass-Through Certificates, Series
2007-l vs. Santo C Lopez, et al.

Case No. l9-41456-ess

Dear Sir or Madam:

Wells Fargo Bank, N.A. as servicing agent for HSBC Bank USA, National Association As Trustee For
Nomura Asset AcceptanceCorporation, Mortgage Pass-Through Certificates, Series 2007-l made a motion for
relief Which is currently pending before this court and currently scheduled to be heard on May 7, 2019. Final
Notice of Section 521 Deficiencies was filed on April 15, 2019 as docket entry l4. Secured Creditor respectfully
requests that the Court hold off on dismissing this case pursuant to ll U.S.C. Section 521(i) until after its motion
is heard.

If you have any questions, please feel free to call.

Very truly yours,

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By: Courtney R. Williams, Esq,

